Case 2:03-cv-02939-.]DB-dkv Document 130 Filed 05/03/05 Page 1 of 2 Page|D 107

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iN rHE uNneD sTATEs DIST§ICT CoURT

FOR THE WESTERN DISTRICTQFM§QNI§E§§‘|E§: l_-, l

WESTERN DIVISION
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"`J-`."?£` ` ' ois"r_ c't.
ELLIPSIS’ INC" i»§l"r§plij¢-=l rita :‘.n';f~;i.tt~“»H\L-‘.
Plaintiff,
V' NO. 03-2939 ev

THE COLORWORKS, INC.,

Defendant.

 

ORDER AFFIRMING DECISION OF THE MAGISTRATE JUDGE

 

On l\/larch 8, 2005, Magistrate ludge Dianc Vescovo entered an order granting the motion
of the Defendant, The Colorworl<s, lnc., for leave to amend its counterclaim and denying:r its motion
for leave to file a reply memorandum Following entry of the order, objections were filed by the
Plaintiff, Ellipsis, lnc., to Which the Defendant has responded Upon a review of all of the relevant
pleadings, the Court concludes that the magistrate judge's findings were neither clearly erroneous
nor contrary to law. § Fed_ R_ Civ. P. 72(a); LR?Z.l(g)(l), Local Rules ofle U.S. Dist_ Ct. for
the W. Dist. of Tenn_ Accordingly, the Plaintiff‘s objections are OVERRULED and the magistrate

judge‘s order is AFFlRl\/IED.

    
  

lT lS SO ORDERED this _ day ofl\/[ay, 2005.

 

.DA IEL BREEN \
UNIT D sTATEs DISTRJCT JUDGE

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with Ru‘.e 58 and/or 79{a) FF\CP on 5 ' §§ _

 

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Honorable .l_ Breen
US DISTRICT COURT

